Case 2:03-cr-20039-PKH Document 245               Filed 01/09/17 Page 1 of 12 PageID #: 358




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

UNITED STATES OF AMERICA                                              PLAINTIFF/RESPONDENT

       VS.                            CASE NO. 2:03-cr-20039-001

NHAN VAN NGUYEN                                                      DEFENDANT/PETITIONER

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Before the Court is the Petitioner’s Motion to Modify and Reduce Sentence filed June 16,

2016. (Doc. 235) The United States filed its response on September 7, 2016. (Doc. 235) Petitioner

has not filed a reply. The matter is ready for Report and Recommendation.

                                         I. Background

       On September 24, 2003, Defendant/Petitioner, Nahn Van Nguyen (“Nguyen”), was named

in a multi-count Indictment charging him with: conspiracy to distribute methamphetamine, in

violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 846 (Count One); aiding and abetting in the

distribution of more than five grams of actual methamphetamine, in violation of 21 U.S.C. §§

841(a)(1) and (b)(1)(B)(viii) and 18 U.S.C. § 2 (Counts Two and Three); aiding and abetting in the

distribution of more than 50 grams of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(B)(viii) and 18 U.S.C. § 2 (Count Four); aiding and abetting in the possession with intent to

distribute more than 50 grams of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

(b)(1)(B)(viii) and 18 U.S.C. § 2 (Count Five); and, while under indictment for a crime punishable

by imprisonment for a term exceeding one year, willfully receiving a firearm, which had been

previously shipped in interstate commerce, in violation of 18 U.S.C. §§ 922(n) and 924 (Count Six).

(Doc. 28) Nguyen appeared with his retained counsel for arraignment before the Hon. Beverly S.


                                                -1-
Case 2:03-cr-20039-PKH Document 245                Filed 01/09/17 Page 2 of 12 PageID #: 359




Jones, United States Magistrate Judge, on September 29, 2003, at which time he entered a plea of

not guilty to the Indictment. (Doc. 31)

       On November 17, 2003, Nguyen appeared with counsel before the Hon. Robert T. Dawson,

United States District Judge, for a change of plea hearing. (Doc. 76) Pursuant to a written plea

agreement, Nguyen pleaded guilty to Count Five of the Indictment, charging him with aiding and

abetting in the possession with intent to distribute more than 50 grams of methamphetamine, and to

Count Six of the Indictment, charging him with possession of a firearm by a prohibited person.

(Docs. 76, 77)

       An initial PSR was prepared by the United States Probation Office on December 15, 2003.

(Doc. 118) The PSR determined that Nguyen was accountable for 263.1 grams of actual

methamphetamine, and his Base Offense Level was determined to be 34. (Doc. 118, ¶¶ 21, 24) A

two level enhancement was assessed pursuant to U.S.S.G. § 2D1.1(b)(1) due to Nguyen’s possession

of a dangerous weapon (firearm). (Doc. 118, ¶ 25) After a three level reduction for acceptance of

responsibility, Nguyen’s Total Offense Level was determined to be 33. (Doc. 118, ¶¶ 30-31)

Nguyen had no criminal history, resulting in a criminal history score of zero, placing him in Criminal

History Category I. (Doc. 118, ¶ 37) The statutory minimum sentence for the offense of conviction

(Count Five) was 10 years imprisonment, and the statutory maximum sentence was 40 years

imprisonment. (Doc. 118, ¶ 46) Nguyen’s guidelines range was 135 to 168 months imprisonment.

(Doc. 118, ¶ 47)

       On December 30, 2003, the Government advised that it had no objections to the PSR. (Doc.

118, p. 14) On January 14, 2004, Nguyen also advised that he had no objections to the PSR. (Id.)

A final PSR was submitted to the Court on January 14, 2004. (Doc. 118)


                                                 -2-
Case 2:03-cr-20039-PKH Document 245              Filed 01/09/17 Page 3 of 12 PageID #: 360




       Nguyen appeared for sentencing on February 10, 2004. (Doc. 117) The Court imposed a

below-guidelines sentence of 70 months imprisonment, five years supervised release, a $5,000.00

fine, and a $100.00 special assessment. (Doc. 117) Judgment was entered on February 11, 2004.

(Doc. 119) Nguyen did not pursue a direct appeal from the Judgment.

       After serving his sentence of 70 months imprisonment and being released, a Petition for

Warrant or Summons for Offender under Supervision (Doc. 217) was filed with the Court on

October 22, 2010. The petition alleged that Nguyen’s supervision commenced on January 28, 2009,

and that he violated the terms and conditions of his supervised release by testing positive for

methamphetamine on October 4, 2010, and by being arrested and subsequently charged on October

19, 2010 with conspiring to possess with intent to deliver methamphetamine. (Id.) Nguyen was

arrested on the petition to revoke on October 22, 2010. (Doc. 220) Nguyen and his retained counsel

appeared for initial appearance on the petition to revoke on May 5, 2011. (Doc. 222)

       Nguyen appeared before the Hon. Robert T. Dawson, United States District Judge, on

November 3, 2011 for a revocation hearing. (Doc. 224) Nguyen had plead guilty to the underlying

law violation, and the Court revoked Nguyen’s supervised release and sentenced him to 18 months

imprisonment, to run concurrently with the 125 month sentence imposed in Case No. 2:10-CR-

20057, with no further supervised release. (Doc. 226) Judgment on the supervised release

revocation was entered on November 4, 2011. (Doc. 225)

       Nguyen did not pursue an appeal from the sentence imposed in the revocation of his

supervised release. He completed serving his 18 month sentence on February 7, 2012. (Doc. 243-1)

       On June 16, 2016, Nguyen filed his pro se Motion to Modify and Reduce Sentence (the

“motion”). (Doc. 235) The motion asserts that “[a] charge for possession of firearm/s was included,


                                                -3-
Case 2:03-cr-20039-PKH Document 245               Filed 01/09/17 Page 4 of 12 PageID #: 361




or an enhancement for the present (sic) of a firearm was applied to the main charges,” that “the

elements of Defendant’s offense do not describe inherently dangerous conduct, and Defendant’s

crime should not qualify as a ‘violent felony’,” and that Nguyen is entitled to relief under Johnson

v. United States, 135 S.Ct. 2551, 192 L.Ed.2d 569 (2015) and Welch v. United States, 136 S.Ct.

1257, 194 L.Ed.2d 387 (2016). (Doc. 235, pp. 1-2) The motion also cites Bailey v. United States,

516 U.S. 137, 116 S.Ct. 501, 133 L.Ed.2d 472 (1995) and asserts that the “the ‘use’ prong punishes

only ‘active employment of the firearm’ and not mere possession.” (Doc. 235, p. 2) Finally, Nguyen

claims that “Amendment 2K2.1(b)(2) mentions that a deduction of points should be considered in

an offense if the offender possessed all ammunition and firearm(s) for lawful sporting purposes, or

collection, and did not unlawfully discharge or otherwise unlawfully use such firearm(s) or

ammunition.” (Doc. 235, p. 2) Nguyen seeks a two-level reduction of his sentence based upon such

claims. (Id.)

       The United States’ response to the motion was filed on September 7, 2016. (Doc. 243)

Nguyen did not file a reply.

                                          II. Discussion

       “A prisoner in custody under sentence . . . claiming the right to be released upon the ground

that the sentence was imposed in violation of the Constitution or laws of the United States, or that

the court was without jurisdiction to impose such sentence, or that the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack, may move the court which

imposed the sentence to vacate, set aside or correct the sentence.” 28 U.S.C. § 2255(a) (emphasis

added). “If the court finds that the judgment was rendered without jurisdiction, or that the sentence

imposed was not authorized by law or otherwise open to collateral attack, or that there has been such


                                                 -4-
Case 2:03-cr-20039-PKH Document 245                Filed 01/09/17 Page 5 of 12 PageID #: 362




a denial or infringement of the constitutional rights of the prisoner as to render the judgment

vulnerable to collateral attack, the court shall vacate and set the judgment aside and shall discharge

the prisoner or resentence him or grant a new trial or correct the sentence as may appear

appropriate.” 28 U.S.C. § 2255(b). A thorough review of the motion and the files and records of

this case conclusively shows that Nguyen is not entitled to relief, and the undersigned recommends

the denial and dismissal of his motion without an evidentiary hearing.

                             A. Lack of Subject Matter Jurisdiction

         The conviction and sentence challenged by Nguyen was entered on February 11, 2004. (Doc.

119) The Judgment reflects that Nguyen pleaded guilty to Counts Five and Six of the Indictment,

and Nguyen was sentenced to 70 months imprisonment, five years supervised release, a $5,000.00

fine, and a $100.00 special assessment. (Id.)

         Having fully served his sentence of imprisonment, Nguyen was released from the Bureau of

Prisons on an unknown date and his period of supervision began on January 28, 2009. (Doc. 217)

Nguyen was arrested on October 19, 2010, and a Petition for Warrant or Summons for Offender

under Supervision was filed with the Court on October 22, 2010. (Id.) Satisfaction of all financial

obligations imposed was filed on March 24, 2011. (Doc. 221) On November 3, 2011, the Court

revoked Nguyen’s supervised release and sentenced him to 18 months imprisonment, to run

concurrently with the 125 month sentence imposed in Case No. 2:10-CR-20057, with no further

supervised release. (Doc. 226) Judgment on the supervised release revocation was entered on

November 4, 2011. (Doc. 225) Nguyen did not appeal from the sentence imposed in the revocation

of his supervised release. He completed serving his 18 month sentence on February 7, 2012. (Doc.

243-1)


                                                 -5-
Case 2:03-cr-20039-PKH Document 245                Filed 01/09/17 Page 6 of 12 PageID #: 363




       Nguyen’s sentence under conviction has unconditionally and fully expired. In Maleng v.

Cook, 490 U.S. 488, 492, 109 S.Ct. 1923, 104 L.Ed.2d 4537 (1989), the Supreme Court held that

once the sentence imposed for a conviction has completely expired, the collateral consequences of

that conviction are not themselves sufficient to render an individual “in custody” for purposes of a

habeas attack upon it. See also Bent v. United States, 340 F.2d 703, 706 (8th Cir. 1965) (sentences

which had long since been served were not subject to collateral attack under § 2255 motion to vacate

convictions) (internal citations omitted).

       Accordingly, since the federal sentence Nguyen is now attacking has been fully served, relief

is not available to him under 28 U.S.C. § 2255 and his motion should be summarily dismissed.

                            B. Johnson and Welch Are Inapplicable

       The Armed Career Criminal Act (“ACCA”) defines the term “violent felony” as a crime

punishable by a term of imprisonment exceeding one year that:

               (i) has as an element the use, attempted use, or threatened use of
               physical force against the person of another; or

               (ii) is burglary, arson, or extortion, involves use of explosives, or
               otherwise involves conduct that presents a serious potential risk of
               physical injury to another.

18 U.S.C. § 924(e)(2)(B) (emphasis added). The italicized portion of subsection (ii) above is known

as the “residual clause” of the ACCA. See James v. United States, 550 U.S. 192, 197, 127 S.Ct.

1586, 1591, 167 L.Ed.2d 532 (2007) (question of whether attempted burglary, as defined by Florida

law, fell within the ACCA’s residual provision for crimes that “otherwise involv[e] conduct that

presents a serious potential risk of physical injury to another”).

       On June 26, 2015, the United States Supreme Court ruled in Johnson that the residual clause



                                                 -6-
Case 2:03-cr-20039-PKH Document 245                 Filed 01/09/17 Page 7 of 12 PageID #: 364




of the ACCA was unconstitutionally vague. On April 18, 2016, the Supreme Court decided in Welch

that its ruling in Johnson announced a new substantive rule that applied retroactively on collateral

review.

          Nguyen refers to the definition of a firearm in Johnson, the ACCA’s definition of a “violent

felony,” and Johnson’s holding that the residual clause of the ACCA is unconstitutionally vague.

(Doc. 235, pp. 1-2) Nguyen then makes a vague argument that his crime “should not qualify as a

‘violent felony’,” and that “the residual clause should not apply in [his] case” in light of Johnson and

Welch. (Doc. 235, p. 2) Nguyen fails to explain, however, how his case falls within the scope of

those decisions, and the record before the Court plainly shows that Johnson and Welch are

inapplicable to his case.

          Vague and conclusory allegations are not sufficient to state a ground for relief under 28

U.S.C. § 2255. See Hollis v. United States, 796 F.2d 1043, 1046 (8th Cir. 1986) (citing Richardson

v. United States, 577 F.2d 447, 452 (8th Cir. 1978), cert. denied, 442 U.S. 910, 99 S.Ct. 2824, 61

L.Ed.2d 276 (1979)); Smith v. United States, 677 F.2d 39, 41 (8th Cir. 1982) (conclusory

allegations, unsupported by any specifics, are subject to summary dismissal).

          A review of Nguyen’s PSR (Doc. 118) shows that his advisory guidelines range did not

include an enhancement under either the unconstitutional residual clause of the ACCA or the

identically worded residual clause of the career offender guideline in U.S.S.G. § 4B1.2(a)(2).

Instead, Nguyen’s advisory guidelines calculation was enhanced pursuant to U.S.S.G. § 2D1.1(b)(1)

because two firearms, a loaded Ruger 9mm pistol and a Ruger .22 caliber rifle, were found in his

residence along with ten heat-sealed bags that contained approximately 365.4 grams of crystal meth,

another plastic bag containing 25.6 grams of crystal meth, two digital scales, and other drugs and


                                                  -7-
Case 2:03-cr-20039-PKH Document 245                Filed 01/09/17 Page 8 of 12 PageID #: 365




drug paraphernalia. (Doc. 118, ¶¶ 19-21) Nguyen made no objections to the facts contained in

paragraphs 19 to 21 of the PSR, nor did he object to the two level enhancement under U.S.S.G. §

2D1.1(b)(1). Further, he made no argument that he possessed the firearms for lawful sporting

purposes or collection. “A fact in a PSR to which the defendant has not specifically objected is a

fact admitted by the defendant.” See United States v. Abrica-Sanchez, 808 F.3d 330, 334 (8th Cir.

2015) (quoting United States v. White, 447 F.3d 1029, 1032 (8th Cir. 2006)).

       Unlike the ACCA at issue in Johnson, which involves whether a defendant’s prior

convictions are “violent felonies,” the two-level specific offense characteristic enhancement pursuant

to U.S.S.G. § 2D1.1(b)(1) concerns whether “a dangerous weapon (including a firearm) was

possessed.” The enhancement “reflects the increased danger of violence when drug traffickers

possess weapons.” U.S.S.G. § 2D1.1(b)(1), Application Note 11.

       To prove that the firearm was “possessed,” the Government need not prove ownership of

either the weapon or the premises on which it is found for a § 2D1.1(b)(1) enhancement to apply.

See United States v. Payne, 81 F.3d 759, 762 (8th Cir.1996); see also United States v. Weaver, 906

F.2d 359, 360 (8th Cir.1990). Also, “[i]t is not necessary that an individual be observed using the

weapon, and either actual or constructive possession is sufficient, i.e., the individual must have

exercised ‘ownership, dominion, or control’ either over the firearm or the premises on which it is

found.” Payne, 81 F.3d at 762. By not objecting to the facts set forth in the PSR regarding the

firearm, Nguyen admitted that the firearms, which were found in his residence with a large quantity

of methamphetamine and drug trafficking paraphernalia, were in his legal possession.

       Nguyen makes no specific argument regarding the § 2D1.1(b)(1) enhancement, only that “the

elements of [his] offense do not describe inherently dangerous conduct, and [his] crime should not


                                                 -8-
Case 2:03-cr-20039-PKH Document 245                  Filed 01/09/17 Page 9 of 12 PageID #: 366




qualify as a ‘violent felony’” in the wake of Johnson. (Doc. 235, p. 2) His argument has nothing

to do with the propriety of the §2D1.1(b)(1) enhancement or the rule announced in Johnson, and the

undersigned must conclude that Johnson is inapplicable to the instant case.

        There is, therefore, no basis upon which Nguyen could seek to benefit from the Supreme

Court’s rulings in Johnson and Welch, and this claim affords him no relief.

                                       C. Procedural Default

        Whether U.S.S.G. § 2D1.1(c)(2) applies is a matter for direct appeal and not for collateral

review. Nguyen has procedurally defaulted his claim on this point.

        The United States Supreme Court has “long and consistently affirmed that a collateral

challenge may not do service for an appeal.” United States v. Frady, 456 U.S. 152, 165, 102 S.Ct.

1584, 1593, 71 L.Ed.2d 816 (1982) (internal citations omitted). Relief under § 2255 “is reserved for

transgressions of constitutional rights and for a narrow range of injuries that could not have been

raised on direct appeal and, if uncorrected, would result in a complete miscarriage of justice.”

United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996). The circumstances under which a guilty

plea may be attacked on collateral review are strictly limited, and “[i]t is well settled that a voluntary

and intelligent plea of guilty made by an accused person, who has been advised by competent

counsel, may not be collaterally attacked.” Mabry v. Johnson, 467 U.S. 504, 508, 104 S.Ct. 2543,

2546-47, 81 L.Ed.2d 437 (1984). Even the voluntariness and intelligence of a guilty plea can be

attacked on collateral review only if first challenged on direct review, as “[h]abeas review is an

extraordinary remedy and ‘will not be allowed to do service for an appeal.’” Bousley v. United

States, 523 U.S. 614, 621, 118 S.Ct. 1604, 1610, 140 L.Ed.2d 828 (1998) (internal quotation marks

and citation omitted). “[T]he concern with finality served by the limitation on collateral attack has


                                                   -9-
Case 2:03-cr-20039-PKH Document 245              Filed 01/09/17 Page 10 of 12 PageID #: 367




special force with respect to convictions based on guilty pleas.” Id.

       Nguyen did not pursue a direct appeal. By failing to do so, Nguyen procedurally defaulted

the claim he now raises.

       Procedural default may be excused only if a petitioner “can show both (1) a cause that

excuses the default, and (2) actual prejudice from the errors that are asserted.” Matthews v. United

States, 114 F.3d 112, 113 (8th Cir. 1997) (quoting Bousley v. Brooks, 97 F.3d 284, 287 (8th Cir.

1996)); Apfel, 97 F.3d at 1076; and, Frady, 456 U.S. at 167-68. “For cause to exist, the external

impediment, whether it be governmental interference or the reasonable unavailability of the factual

basis for the claim, must have prevented petitioner from raising the claim.” McCleskey v. Zant, 499

U.S. 467, 497, 111 S.Ct. 1454, 1472, 113 L.Ed.2d 517 (1991).

       Nguyen makes no such showing here. He fails to demonstrate how the factual or legal basis

for his claim was not reasonably available to him in time to pursue relief on direct appeal. Further,

there is no assertion by Nguyen that some interference by government officials, or some external

impediment, prevented him from raising his claim on direct appeal.

       Since Nguyen has not shown adequate cause to overcome the procedural bar in his case, the

Court need not consider the issue of actual prejudice. Ashker v. Class, 152 F.3d 863, 871 (8th Cir.

1998) (citing Engle v. Isaac, 456 U.S. 107, 134 n. 43, 102 S.Ct. 1558, 1575, 71 L.Ed.2d 783 (1982)).

Even so, Nguyen has presented absolutely no new, reliable evidence to support a challenge to the

voluntary and intelligent nature of his guilty plea. “Without any new evidence of innocence, even

the existence of a concededly meritorious constitutional violation is not in itself sufficient to

establish a miscarriage of justice that would allow a habeas court to reach the merits of a barred

claim.” Schlup v. Delo, 513 U.S. 298, 316, 115 S.Ct. 851, 130 L.Ed.2d 808 (1995).


                                                -10-
Case 2:03-cr-20039-PKH Document 245              Filed 01/09/17 Page 11 of 12 PageID #: 368




       Nguyen has failed to demonstrate “cause and prejudice” or a “miscarriage of justice” to

overcome the procedural default of the sentencing claim he now asserts, and his § 2255 Motion

should be dismissed.

                              D. Reliance on Bailey is Misplaced

       Nguyen also cites Bailey v. United States, 516 U.S. 137, 116 S.Ct. 501, 133 L.Ed.2d 472

(1995) and asserts that the “the ‘use’ prong punishes only ‘active employment of the firearm’ and

not mere possession.” (Doc. 235, p. 2) His argument is misplaced, as three years after Bailey was

decided, and in a direct response to Bailey, Congress amended 18 U.S.C. § 924(c) and added the

word “possesses” to the principal paragraph. See United States v. O’Brien, 560 U.S. 218, 232, 130

S.Ct. 2169, 176 L.Ed.2d 979 (2010).

                          E. No Evidentiary Hearing Is Warranted

       A movant is not entitled to an evidentiary hearing on a § 2255 motion if “the motion and the

files and records of the case conclusively show that the [movant] is entitled to no relief.” Nguyen

v. United States, 114 F.3d 699, 703 (8th Cir. 1997), quoting from Voytik v. United States, 778 F.2d

1306, 1308 (8th Cir. 1985). Such are the circumstances in this case where Nguyen has alleged

virtually no facts to support his claims. Accordingly, the undersigned recommends the summary

dismissal of Nguyen’s § 2255 Motion without an evidentiary hearing.

                                         III. Conclusion

       For the reasons and upon the authorities discussed above, Nguyen’s claims are unsupported

by the record in this case. I recommend that Nguyen’s motion (Doc. 235) be DISMISSED with

PREJUDICE.

       The parties have fourteen (14) days from receipt of this Report and Recommendation


                                               -11-
Case 2:03-cr-20039-PKH Document 245             Filed 01/09/17 Page 12 of 12 PageID #: 369




in which to file written objections pursuant to 28 U.S.C. § 636(b)(1). The failure to file timely

written objections may result in waiver of the right to appeal questions of fact. The parties are

reminded that objections must be both timely and specific to trigger de novo review by the

district court.

       DATED this 9th day of January, 2017.

                                            /s/ Mark E. Ford
                                            HONORABLE MARK E. FORD
                                            UNITED STATES MAGISTRATE JUDGE




                                              -12-
